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    1    ADRIAN M. PRUETZ - State Bar No. 118215
         apruetz@glaserweil.com
         ERICA J. VAN LOON - State Bar No. 227712
    2
         evanloon@glaserweil.com                                    JS -6
    3    JESSICA E. MENDELSON - State Bar No. 280388
         jmendelson@glaserweil.com
    4
         GLASER WEIL FINK
    5
           HOWARD AVCHEN & SHAPIRO LLP
         10250 Constellation Boulevard, 19th Floor
    6    Los Angeles, California 90067
         Telephone: (310) 553-3000
    7    Facsimile: (310) 556-2920
    8    Attorneys for Plaintiff
         Bally Gaming, Inc. d/b/a Bally Technologies
    9
                               UNITED STATES DISTRICT COURT
   10
                             CENTRAL DISTRICT OF CALIFORNIA
   11
                                        WESTERN DIVISION
   12

   13    BALLY GAMING, INC. d/b/a BALLY           CASE NO: 2:14-cv-07000-CAS (AJWx)
         TECHNOLOGIES, a Nevada
   14    corporation,                             Hon. Christina A. Snyder
   15                      Plaintiff,             [PROPOSED] CONSENT JUDGMENT
                                                  AND PERMANENT INJUNCTION
   16    v.
   17    DESIGN TIME INTERACTIVE, INC.,
         a California corporation,
   18
                           Defendant.
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                       [PROPOSED] CONSENT JUDGMENT AND PERMANENT INJUNCTION
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    1          Bally Gaming, Inc. d/b/a Bally Technologies (“Bally”) on the one hand, and
    2    Design Time Interactive, Inc. (“DTI”) on the other (each a “Party,” and collectively
    3    the “Parties”), and the Parties having consented to the terms of the permanent
    4    injunction set forth below, this Court hereby finds as follows:
    5          1.     This case arises under the laws of the United States, specifically the
    6    trademark laws of the United States, 15 U.S.C. §1114 and 15 U.S.C. §1125, et seq.
    7    This Court has original jurisdiction of this action under 15 U.S.C. §1121 and 28
    8    U.S.C. §§ 1331 and 1338.
    9          2.     This Court has supplemental jurisdiction under 28 U.S.C. § 1367 because
   10    the claims are so related as to form part of the same case or controversy.
   11          3.     This Court has personal jurisdiction over DTI because it solicits,
   12    transacts and does business in this District, a substantial part of the wrongful acts or
   13    omissions complained of occurred in this District, and DTI is subject to personal
   14    jurisdiction in this District. DTI purposefully directed its activities toward this
   15    District when it willfully infringed Bally's intellectual property rights, specifically
   16    targeted consumers here, and a substantial part of the harm was felt in this District.
   17          4.     Venue is proper in the United States District Court for the Central
   18    District of California under 28 U.S.C. §§ 1391(b) and (c).
   19          5.     Bally is, among other things, a leading manufacturer of casino gaming
   20    machines and equipment and a licensor of proprietary games.
   21          6.     Bally owns intellectual property rights, including trademark rights in its
   22    distinctive names, logos and designs together with art, graphic designs, methods of
   23    play and other intellectual property. More specifically, Bally owns and extensively
   24    uses several trademarks which are well-known and famous throughout the United
   25    States and worldwide, including but not limited to: U.S. Trademark Registration
   26    Number (“Reg. No.”) 85301631 for the mark BIG VEGAS, which is used for gaming
   27    machines (devices which accept a wager) and gaming software which generates or
   28    displays outcomes for gaming machines, as well as common law trademark rights for
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    1    BIG VEGAS in connection with the above and entertainment services and online
    2    games.
    3          7.       Through Bally's expansive sales, leasing, licensing and marketing
    4    efforts, the games which use the BIG VEGAS mark have become a standard fixture in
    5    casinos throughout the country and online, resulting in widespread consumer
    6    recognition.
    7          8.       Bally filed this action against DTI alleging, inter alia, that DTI has been
    8    unlawfully promoting and selling iOS/iPhone applications under the name "Big
    9    Vegas Roulette" (the "Infringing Game") in violation of United States intellectual
   10    property laws.
   11          9.       Bally has no adequate remedy at law and the alleged harm to Bally and
   12    to the public outweighs the harm to any legitimate interests of DTI.
   13          10.      Bally, on the one hand, and DTI on the other, desire to avoid the cost and
   14    expense of trial and to resolve the referenced disputes in a business-like fashion, but
   15    intend that the Court retain continuing jurisdiction in the event of the breach of the
   16    separate settlement agreement between Bally and DTI relating to this case (the
   17    “Settlement Agreement”) or this Consent Judgment and Permanent Injunction, or
   18    other need for judicial intervention.
   19          In accordance with the Settlement Agreement, the parties hereto stipulate and
   20    agree to this consent judgment and to the entry of a permanent injunction against DTI
   21    in the form set forth below.
   22          It is hereby ORDERED, ADJUDGED, and DECREED that:
   23          1.       Bally’s Trademarks are Valid and Enforceable. Bally’s federal and
   24    common law trademark rights in the BIG VEGAS mark are valid, and enforceable.
   25          2.       Permanent Injunction against DTI. DTI, and all of its respective
   26    affiliates, subsidiaries, agents, officers, employees, representatives, successors,
   27    assigns, attorneys, and all other persons acting for, with, by, through, or under
   28    authority from DTI, or in concert or participation with DTI, are permanently
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    1    enjoined and restrained from directly, or indirectly, infringing Bally’s BIG VEGAS
    2    mark in any manner, by:
    3                a. Using, displaying, advertising, promoting, registering, transferring, or
    4                    assigning, including on or in connection with any products, services,
    5                    promotional items, domain names or web sites, the name "Big Vegas
    6                    Roulette" or any other BIG VEGAS mark in Apple's iTunes Store;
    7                b. Using the phrase "Big Vegas Roulette" or any other BIG VEGAS
    8                    mark in connection with their products or services.
    9    Furthermore, under the terms of the injunction, DTI is required to:
   10                a. Disclose and document the number of games which infringe on the
   11                    BIG VEGAS mark sold to date, inclusive of gross revenues and
   12                    profits related to such sales;
   13                b. Ensure Bally's access to the Big Vegas name through Apple's iTunes
   14                    Store and any other internet platform.
   15          3.    Payment of Settlement Sum. DTI shall pay Bally the agreed upon sum
   16    on the date set forth in the Settlement Agreement.
   17          4.    Service. Service may be made upon the Parties by registered mail or
   18    overnight delivery service (acceptance signature required) addressed as follows:
   19          To DTI: Design Time Interactive, Attn: Nicholas C. Golden
   20          13011 Oakwood Lane, La Mirada, CA 90638.
   21          To Bally: Bally Gaming, Inc. d/b/a Bally Technologies, Attn: Asst. General
   22          Counsel and Senior Director of IP, Michele McShane, 6650 El Camino Road,
   23          Las Vegas, Nevada 89118, copy to counsel for Bally, Adrian Pruetz, Glaser
   24          Weil Fink Howard Avchen & Shapiro LLP, 10250 Constellation Blvd., 19th
   25          Floor, Los Angeles, California 90067.
   26          A copy of this Consent Judgment and Permanent Injunction shall be deemed
   27          sufficient notice under Federal Rule of Civil Procedure 65.
   28          5.   Retention of Jurisdiction to Enforce Settlement Agreement and Consent
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    1    Judgment and Permanent Injunction. The Court retains jurisdiction to enforce the
    2    parties’ Settlement Agreement and the Consent Judgment and Permanent Injunction.
    3          6.   Entry of Judgment. The Court expressly determines that there is no just
    4    reason for delay in entering this Consent Judgment and Permanent Injunction
    5    pursuant to Federal Rule of Civil Procedure 54(a), and the Court enters this Consent
    6    Judgment and Permanent Injunction against DTI.
    7          7.     Expenses of the Action. Each party shall bear its own costs and
    8    attorneys’ fees in connection with this action.
    9

   10    IT IS SO ORDERED, ADJUDGED AND DECREED:
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   12    DATED: September 10, 2014                  By:
                                                      Hon. Christina A. Snyder
   13                                                 United States District Judge
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                        [PROPOSED] CONSENT JUDGMENT AND PERMANENT INJUNCTION
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